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              EXHIBIT 3
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                  PlAN FOR SETTIEI'viENT OF JURISDICTIONAL DISPUTES
                         IN THE CONSTRUCTION INDUSTRY
                               900 7th Stt:eet, N.W., Suite 1000, Washington, D.C. 20001
                                                    (202) 785-9300
                                                 Fax (202) 775-1950




                 MULTIPLE DESTINATION FACSIMILE COVER SHEET

                                             February 16, 2017



                     PLEASE DELIVER THE FOLLOWING PAGES
               TO THE PERSON IN YOUR ORGANIZATION LISTED BELOW


       TO:            Douglas J. McCarron, Gen. Pres., UBCJA                               (202) 543·5724
                                                                                           (202) 546·9755

                      Newton B. Jones, Int'l Pres., Boilermakers                           (913) 281·8101
                                                                                           (913) 281·8105

                      Steve Hutto, Savannah River Remediation, LLC                         (803) 208-091.8


       FROM:          Richard M. Resnick

       RE:            sc 1/11/17


       THIS TRANSMISSION CONSISTS OF 3 PAGES PLUS A COVER PAGE. IF
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               PLAN FOR SETTLEMENT OF JURISDICTIONAL DISPUTES
                       IN THE CONSTRUCfiON INDUSTRY
                            900 7'' Street, N.W., Suite 1000, Washington, D.C ..20001.
                                                 (202) 785-9300
                                               Fax (202) 775-1950




                                           February 16, 2017

                                      VIA       FACSIMILE

       Newton B. Jones, International President
       International Brotherhood of Boilermakers,
         Iron Ship Builders, Blacksmiths, Forgers
         and Helpers
       753 State Avenue, Suite 570
       Kansas City, Kansas 66101

       Douglas J. McCarron, General President
       United Brotherhood of Carpenters and Joiners
         of America
       101 Constitution Avenue, N.W.
       Washington, D.C. 20001

      Horace Hutto
      Savannah River Remediation LLC
      Savannah River Site
      Building 766·H
      Aiken, SC 29808

      Re:    SC 1/11117

      Dear Gentlemen:

              The UBCJA has requested an original assignment determination regarding a
      claim of a change of the original assignment of the fabrication of pump base plate and
      lifting eyes at the U.S. Department of Energy's Savannah River Site in Aiken, South
      Carolina. All parties were afforded an opportunity to present a statement of position
      and supporting documentation.

            The issue before me is not whether the contractor has made the proper
      assignment, but whether, once having made an assignment, right or wrong, that
      assignment has been changed. Under the Plan for the Settlement of Jurisdictional



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       Disputes, once the responsible contractor makes an assignment of work, that
       assignment may not be changed, even if the responsible contractor is replaced, unless
       there is agreement between the trades involved or a Plan arbitrator directs a change
       in assignment.

              Initially, it appears that the work on the specific pump base plate and lifting
       eyes giving rise to this dispute has been completed. Although the work on this specific
       base plate has been completed, the work that is the subject of this dispute is ongoing
       and will continue at the Savannah River Site. Given these circumstances, I will
       continue to process this dispute.

              The UBCJA contends that it has been performing the work in dispute at the
       Savannah River Site since the 1960s. In support, the UBCJA has submitted a
       January 2016 email from Savannah River Remediation ("SRR"), which states that,
       for submersible pumps, "Lifting Bail Round Stock and Lifting Eye and Plate will be
       Fab'ed by Millwrights and installed by Pipefitters." The UBCJA further contends
       that this assignment is consistent with an agreement between the UA and the
       UBCJA.

              SRR contends that it has not changed the original assignment. It concedes
       that the work in dispute is often assigned to the UBCJA, but contends that the
       specific work at issue in this matter is different. SRR contends that it assigned the
       work in dispute to the Boilermakers in this instance because the base plate served as
       both a shield and support. SRR contends that in such cases, the work is assigned to
       a composite crew of Millwrights and Boilermakers. SRR admits, however, that all of
       the work in this instance was performed by the Boilermakers because, according to
       SRR, there was only one plate to be built and the portion that would have been
       assigned to the Millwrights took only thirty minutes to complete. The UBCJA
       disputes that this base plate was any different than the base plates it has fabricated
       in the past, and it further disputes that SRR ever made an assignment to a composite
       crew of Boilermakers and Millwrights.

              The UBCJA states that the only work typically performed by the Boilermakers
       during the process of installing a new base plate is to place a gasket between the
       pump base and the flange portion. The UBCJA contends, and SRR has not disputed,
       that this work does not involve any welding or bolting.

             Based on the evidence presented, I find that there has been a change of the
       original assignment. The UBCJA has submitted compelling evidence and arguments
       to demonstrate that SRR has assigned the work in dispute to the UBCJA, and SRR's
       January 2016 email confirms this assignment. I am not persuaded by SRR's
       contention that the work at issue here is distinct from the work assigned to the



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       UBCJA in the January 2016 email. Although SRR states that this base plate sexves
       as both a support a.nd shield, there is no evidence showing that this function is
       different from the function played by the base plates typically assigned to the UBC,JA.
       As the specific work in dispute in this mattex has been completed, there is no need
       for me to direct SRR to revert to the original assignment. In the future, however,
       SRR should assign the work in dispute in accordance with the original assignment of
       the work.

              This is an original assignment dete1·mination only. Whether the work was
       properly assigned to the appropriate craft is a jurisdictional issue that can only be
       determined by an arbitrator under the Plan. If SRR or the Boilermakers believe that
       the work should have been assigned to the Boilermakers, the dispute may be
       submitted to the Plan for resolution of the underlying jurisdictional dispute by a Plan
       arbitrator.




                                           -jjJIf""".,.'
                                               Richard M. Resnick
                                               Administrator and Counsel to the Plan




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